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  8                         UNITED STATES DISTRICT COURT

  9                        CENTRAL DISTRICT OF CALIFORNIA

 10

 11    RODERICK WASHINGTON,              Case No. CV 22-3564-CBM (AS)

 12                                             JUDGMENT
                        Plaintiffs,
 13
             v.
 14
       SHEN JAY FERN, et.al.,
 15

 16                     Defendants.

 17
            Pursuant to the Order Accepting Findings, Conclusions, and
 18
      Recommendations of United States Magistrate Judge,
 19

 20

 21         IT IS ADJUDGED that the above-captioned case is dismissed with

 22   prejudice.
 23
      DATED: SEPTEMBER 22, 2022
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                                                    CONSUELO B. MARSHALL
 27                                            UNITED STATES DISTRICT JUDGE
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